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17                              UNITED STATES DISTRICT COURT

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                     OAKLAND DIVISION
20
                                         ) Case No. 4:19-cv-07123-PJH
21    WHATSAPP LLC and                   )
      META PLATFORMS, INC., a Delaware   ) PLAINTIFFS’ NOTICE OF MOTION
22    corporation,                       ) AND MOTION TO EXCLUDE CERTAIN
                                         ) EXPERT TESTIMONY OF GREGORY A.
23                    Plaintiffs,        ) PINSONNEAULT
24                                       )
             v.                          )  Date: February 13, 2024
25                                       )  Time: 1:30 p.m.
      NSO GROUP TECHNOLOGIES LIMITED )      Ctrm: 3
26    and Q CYBER TECHNOLOGIES LIMITED, )   Judge: Hon. Phyllis J. Hamilton
                                         )  Action Filed: October 29, 2019
27                    Defendants.        )
28                                       )
                             [PUBLIC REDACTED VERSION]
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 1         NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY
 2          PLEASE TAKE NOTICE THAT, on February 13, 2025 at 1:30 p.m. in Courtroom 3 of the
 3   U.S. District Court for the Northern District of California, Plaintiffs WhatsApp LLC and Meta Plat-
 4   forms, Inc. will and hereby do move to exclude portions of the expert testimony of Gregory A. Pin-
 5   sonneault. This Motion is based upon this Notice of Motion and Motion, the accompanying Memo-
 6   randum of Points and Authorities, the Declaration of Micah G. Block and all exhibits thereto, the
 7   pleadings and papers on file in this action, and on such other written and oral argument as may be
 8   presented to the Court.
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                                                       v
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE CERTAIN EXPERT TESTIMONY OF GREGORY A. PINSON-
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 1                         MEMORANDUM OF POINTS AND AUTHORITIES
 2          On December 20, 2024, this Court granted Plaintiffs WhatsApp LLC and Meta Platforms,
 3   Inc.’s (“Plaintiffs”) motion for partial summary judgment and ruled that Defendants NSO Group
 4   Technologies Ltd. and Q Cyber Technologies Ltd. (“NSO”) were liable on all of Plaintiffs’ claims.
 5   See Dkt. No. 490. The Court then scheduled a trial solely on the issue of the proper damages, which
 6   is scheduled to commence on March 3, 2025. At this damages-only trial, NSO will rely on the testi-
 7   mony of Gregory A. Pinsonneault, its damages expert. Certain aspects of Mr. Pinsonneault’s testi-
 8   mony improperly attempt to rehabilitate NSO’s failures to comply with its discovery obligations and
 9   relitigate the Court’s ruling on liability. The Court should exclude Mr. Pinsonneault from offering
10   testimony in support of these opinions to ensure that the scope of his testimony complies with the
11   requirements of Federal Rule of Evidence 702 and Daubert.
12          First, the Court should exclude Mr. Pinsonneault’s legal opinions regarding the addressable
13   scope of compensatory damages. Plaintiffs’ damages expert has calculated
14                                                   . Mr. Pinsonneault is free to offer alternative calcu-
15   lations but should not be permitted to
16                            These are improper legal opinions that invade the exclusive province of this
17   Court and the jury.
18          Second, Mr. Pinsonneault should not be permitted to weave into his testimony opinions about
19   topics unrelated to damages and outside his expertise. Throughout the course of his expert report,
20   Mr. Pinsonneault purports
21                                        . Mr. Pinsonneault lacks any qualifications to offer expert opin-
22   ions on these topics, and such testimony should therefore be excluded.
23          Third, the Court should exclude Mr. Pinsonneault’s opinion regarding
24                . This Court has already concluded that NSO failed to comply with its discovery obli-
25   gations; one aspect of NSO’s failure was its refusal to produce detailed financial information. Mr.
26   Pinsonneault attempts to take unfair advantage of the evidentiary gap NSO created by inventing a
27   methodology to estimate NSO’s profits from its unlawful conduct directed at WhatsApp. Mr. Pin-
28   sonneault’s methodology—                                                       —lacks any indicia of
                                                       1
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE CERTAIN EXPERT TESTIMONY OF GREGORY A. PINSON-
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 1   reliability, ignores key evidence in the record, and relies on cherry-picked information on issues
 2   which NSO improperly withheld discovery from Plaintiffs. The Court should prevent Mr. Pinson-
 3   neault from offering this testimony to the jury.
 4          At bottom, the Court should permit Mr. Pinsonneault to offer only those opinions that rely on
 5   his expertise and a sound methodology. The portions of Mr. Pinsonneault’s proposed testimony that
 6   stray past these clearly established lines should be excluded. These portions include, but are not lim-
 7   ited to: Mr. Pinsonneault’s opinions on Plaintiffs’ labor costs (Block Decl. Ex. B (Pinsonneault Re-
 8   buttal Rep.) ¶¶ 47–67); Mr. Pinsonneault’s opinions on NSO’s profits subject to disgorgement (Id.
 9   ¶¶ 114–127, Dkt. No. 490-4, Ex. D (Pinsonneault Second Supp. Rep.), ¶¶ 18–23); and Mr. Pinson-
10   neault’s opinions regarding restricted stock units (see Block Decl., Ex. C (Pinsonneault Dep. Tr.) at
11   278:11–14; 281:9–18).
12                                             BACKGROUND
13   I.     Mr. Pinsonneault’s Background
14          Mr. Pinsonneault is the managing director and chief executive officer of LitiNomics, Inc., a
15   financial and economic consulting firm that primarily focuses on litigation consulting. Block Decl.
16   Ex. B (Pinsonneault Rebuttal Rep.) 487-5 ¶ 4; Block Decl., Ex. C (Pinsonneault Dep. Tr.) at 53:5–
17   54:1. Mr. Pinsonneault’s work has focused on litigation consulting for over two decades. Block
18   Decl. Ex. B (Pinsonneault Rebuttal Rep.) ¶¶ 6; Block Decl., Ex. C (Pinsonneault Dep. Tr.) at 54:2–
19   17.
20   II.    Plaintiffs Serve Damages Expert Reports
21          On August 30, 2024, Plaintiffs served the affirmative expert report of their damages expert,
22   Dana Trexler (the “Trexler Report”). See Dkt. No. 487-3. The Trexler Report calculated
23

24

25                         After Ms. Trexler submitted her initial report, Plaintiffs deposed Sarit Bizinsky
26   Gil, NSO’s corporate representative witness on damages issues, which provided insight into a docu-
27   ment that NSO had produced just days before the expert report deadline. In light of this new
28                                                     2
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE CERTAIN EXPERT TESTIMONY OF GREGORY A.
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 1   information, Ms. Trexler submitted a supplemental report (the “Trexler Supplemental Report”),
 2   which included a revised estimate of                                                                  .1
 3   III.      Mr. Pinsonneault’s Opinions
 4             Mr. Pinsonneault has submitted three expert reports in this matter.2 Throughout these reports,
 5   Mr. Pinsonneault raises numerous disagreements with Ms. Trexler and offers his own affirmative
 6   opinions. As detailed below, Plaintiffs now seek to exclude certain of Mr. Pinsonneault’s opinions.
 7             A. Mr. Pinsonneault’s Opinions Regarding Plaintiffs’ Labor Costs
 8             Mr. Pinsonneault opines that Plaintiffs’
 9                   , Block Decl. Ex. B (Pinsonneault Rebuttal Rep.) ¶ 67, lower than the
10                         . Dkt. No. 487-3 ¶ 86. Mr. Pinsonneault arrives at this lower number because he
11   believes that Ms. Trexler’s
12                                                                                           Block Decl. Ex. B
13   (Pinsonneault Rebuttal Rep.) at 21.
14             Mr. Pinsonneault offers three reasons                                                     . First,
15   he
16

17

18              Id. ¶ 49. Second, Mr. Pinsonneault opines that
19

20                    Id. ¶¶ 55–63. Third, he opines that
21

22

23   1
            The procedural history underpinning the expert reports in this case is set forth in greater detail in
24          Plaintiffs’ motion to strike the second supplemental report of Mr. Pinsonneault. Dkt. No. 490-3.
     2
            NSO served Mr. Pinsonneault’s initial rebuttal report on September 21, 2024. Block Decl. Ex. B
25          (Pinsonneault Rebuttal Rep.). NSO then served Mr. Pinsonneault’s supplemental report on No-
            vember 8, 2024. Dkt. No. 490-4, Ex. B. NSO later served Mr. Pinsonneault’s second supple-
26          mental report on November 21, 2024. Dkt. No. 490-4, Ex. D. Plaintiffs have moved to strike
            Mr. Pinsonneault’s second supplemental report as untimely and beyond the allowed scope of a
27          supplemental report under Federal Rule of Civil Procedure 26(e). See Dkt. No. 490-3.
28                                                     3
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 1                                                                . Id. ¶ 65. Mr. Pinsonneault calculates
 2   that these exclusions reduce                                                      . Id. ¶ 67.
 3           Mr. Pinsonneault offers other critiques of Ms. Trexler’s calculation of
 4   but does not calculate the impact of these criticisms. For example, he opines
 5

 6               Id. ¶ 51. Mr. Pinsonneault                                                                 .
 7   He also states
 8

 9   Id. ¶ 54.
10           B. Mr. Pinsonneault’s Opinions Regarding NSO Profits Derived From Its Illegal Cov-
11               ert Android Exploit
12           Mr. Pinsonneault also offers opinions
13                           , which NSO used to access WhatsApp’s servers and deliver Pegasus spyware
14   to WhatsApp users’ devices. See id. ¶ 91. To calculate                                            , Mr.
15   Pinsonneault purports to
16                                       that NSO disclosed on August 26, 2024, four days before Plain-
17   tiffs were required to serve affirmative expert reports. Dkt. No. 487-3 ¶ 8 n.5; see Dkt. No. 487-4.
18           The first step in Mr. Pinsonneault’s calculations is determining the appropriate period in
19   which to calculate NSO’s profits subject to disgorgement.
20

21   Block Decl. Ex. B (Pinsonneault Rebuttal Rep.) ¶ 97. In his supplemental report, Mr. Pinsonneault
22   criticized Ms. Trexler for                                                                             .
23   Dkt. No. 490-4, Ex. B (Pinsonneault Supp. Rep) ¶¶ 13–14. In his second supplemental report, Mr.
24   Pinsonneault
25                                                                                     Dkt. No. 490-4, Ex. D
26   (Pinsonneault Second Supp. Rep.) ¶ 6.
27

28                                                     4
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE CERTAIN EXPERT TESTIMONY OF GREGORY A.
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 1          For each time period, Mr. Pinsonneault
 2                                                       Mr. Pinsonneault applies
 3

 4                                                                    See, e.g., Block Decl. Ex. B (Pinson-
 5   neault Rebuttal Rep.) at Figure 16 and Schedule 2.0, n. a, b.
 6

 7                              Id. ¶ 124.
 8                                           LEGAL STANDARD
 9          The proponent of expert testimony bears the burden of establishing the testimony’s admissi-
10   bility by a preponderance of the evidence, including that: “(1) the expert’s scientific, technical, or
11   other special knowledge will help the trier of fact understand the evidence or determine a fact in
12   issue, (2) the testimony is based upon sufficient facts or data, (3) the testimony is the product of
13   reliable principles and methods, and (4) the witness has applied the principles and methods reliably
14   to the facts of the case.” Fed. R. Evid. 702; Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579
15   (1993). As the gatekeepers of the admissibility of expert testimony, courts must first determine
16   whether the testimony is reliable and trustworthy and then decide whether it is relevant to the task at
17   hand. In re Ripple Labs, Inc. Litig., 2024 WL 4583525, at *1 (N.D. Cal. Oct. 24, 2024). The court
18   may look to many factors to determine reliability, including whether an expert has adequately ac-
19   counted for obvious alternative explanations, id. at 2, or whether the expert’s opinion rests on “facts
20   or data in the case that the expert has been made aware of or personally observed,” not merely as-
21   sumptions and speculation. Stephens v. Union Pac. R.R. Co., 935 F.3d 852, 856–57 (9th Cir. 2019).
22                                              ARGUMENT
23   I.
24

25          In her report, Ms. Trexler calculates
26                                                                   Dkt. No. 487-3 ¶ 50. Ms. Trexler states
27   that
28                                                     5
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE CERTAIN EXPERT TESTIMONY OF GREGORY A.
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 1                                             Id. ¶ 48. In response to Ms. Trexler’s opinion, Mr. Pinson-
 2   neault challenges certain aspects of Ms. Trexler’s calculations. See Block Decl. Ex. B (Pinsonneault
 3   Rebuttal Rep.) ¶¶ 55–62
 4         . However, Mr. Pinsonneault also goes further and
 5                      Id. ¶¶ 47–54. In doing so, Mr. Pinsonneault exceeds the scope of an expert witness
 6   and goes outside the bounds of his own economics expertise. The Court should strike these opinions
 7   and only allow the jury to consider Mr. Pinsonneault’s disagreements with Ms. Trexler’s calculation
 8   of labor costs.
 9           A. Mr. Pinsonneault Cannot Offer Legal Conclusions as
10

11           The Ninth Circuit “has repeatedly affirmed that ‘an expert witness cannot give an opinion as
12   to her legal conclusion, i.e., an opinion on an ultimate issue of law.’” United States v. Diaz, 876 F.3d
13   1194, 1197 (9th Cir. 2017) (quoting Hangarter v. Provident Life & Accident Ins. Co., 373 F.3d 998,
14   1016 (9th Cir. 2004)). “This prohibition of opinion testimony on an ultimate issue of law recognizes
15   that, ‘[w]hen an expert undertakes to tell the jury what result to reach, this does not aid the jury in
16   making a decision, but rather attempts to substitute the expert’s judgment for the jury’s.’” Id. (quot-
17   ing United States v. Duncan, 42 F.3d 97, 101 (2d Cir. 1994)). “Similarly, instructing the jury as to
18   the applicable law is the distinct and exclusive province of the court.” Hangarter, 373 F.3d at 1016.
19   Mr. Pinsonneault violates this rule in two ways.
20           First, Mr. Pinsonneault
21                                                                                                    . As a
22   threshold matter, Mr. Pinsonneault is wrong. Contrary to Mr. Pinsonneault’s suggestion,
23                                                                                            . Block Decl.
24   Ex. B (Pinsonneault Rebuttal Rep.) ¶¶ 48–49. The Computer Fraud and Abuse Act (“CFAA”) de-
25   fines loss to include “any reasonable cost to any victim, including the cost of responding to an of-
26   fense, conducting a damage assessment, and restoring the data, program, system, or information to
27   its condition prior to the offense.” 18 U.S.C. § 1030(e)(11). Plaintiffs’ notification of victims, which
28                                                     6
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO EXCLUDE CERTAIN EXPERT TESTIMONY OF GREGORY A.
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 1   allowed Plaintiffs to gather additional technical information regarding NSO’s attack, fits comfortably
 2   within courts’ interpretation of this definition. See, e.g., SuccessFactors, Inc. v. Softscape, Inc., 544
 3   F. Supp. 2d 975, 981 (N.D. Cal. 2008) (“where the offender has actually accessed protected infor-
 4   mation, discovering who has that information and what information he or she has is essential to rem-
 5   edying the harm”).
 6          In any event, the question of
 7                                           not for Mr. Pinsonneault. A damages expert cannot
 8                                                                  Such opinions are “attorney argument
 9   dressed up as an expert opinion,” which “must be excluded.” Lin v. Solta Medical, Inc., 2024 WL
10   5199905, at *12 (N.D. Cal. Dec. 23, 2024); see Highfields Cap. I, LP v. SeaWorld Ent., Inc., 2022
11   WL 1037210, at *12 (S.D. Cal. Apr. 6, 2022) (excluding damages opinion “at least in part based
12   upon the premise that Plaintiffs had a duty to mitigate damages”); LinkCo, Inc. v. Fujitsu Ltd., 2002
13   WL 1585551, at *3 (S.D.N.Y. July 16, 2002) (barring damages expert from testifying about proper
14   theory of damages). Similarly, damages experts cannot opine on whether plaintiffs have provided a
15   sufficient factual basis to establish their damages. See, e.g., TAKTL, LLC v. IWR, N. Am., LLC, 2024
16   WL 4415194, at *8 (W.D. Pa. Oct. 4, 2024) (excluding testimony that plaintiffs had not “establish[ed]
17   reasonable certainty that a damage even occurred”); Harbor Compliance Corp. v. Firstbase.io, Inc.,
18   2024 WL 1442165, at *14 (E.D. Pa. Apr. 3, 2024) (excluding testimony that plaintiffs “failed in
19   proving damages with ‘reasonable certainty’”).
20          Second, Mr. Pinsonneault improperly opines that
21                                                                    In his report, Mr. Pinsonneault states
22   that
23

24                                                                                       Block Decl. Ex. B
25   (Pinsonneault Rebuttal Rep.) ¶ 50. Later, Mr. Pinsonneault claims that
26

27                                  Id. ¶ 54. Mr. Pinsonneault’s opinion is an impermissible legal opinion.
28                                                     7
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 1               The Ninth Circuit evaluated—and rejected—the precise argument that Mr. Pinsonneault ad-
 2   vances. In United States v. Middleton, the defendant charged with violating the CFAA argued that
 3   there was no evidence that an employee “was diverted from his other responsibilities or that such a
 4   diversion caused [the victim company] a financial loss.” 231 F.3d 1207, 1214 (9th Cir. 2000). The
 5   Ninth Circuit rejected this argument and found that these labor costs were properly considered dam-
 6   ages under the CFAA, reasoning that the victim “would have had to pay a similar amount had it hired
 7   an outside contractor to repair the damage.” Id. “[B]eing versed in the case law is not likely to
 8   provide any tangible benefit to the expert, because he is precluded from offering an opinion about
 9   the law.” Calico Brands, Inc. v. Ameritek Imports, Inc., 2007 WL 9658317, at *2 (C.D. Cal. Nov. 27,
10   2007). The fact that Mr. Pinsonneault misstates the law is yet another reason to exclude his opinion.
11               B. Mr. Pinsonneault Lacks Expertise To Opine
12

13               Mr. Pinsonneault is not qualified to give certain opinions about
14                  because those opinions exceed the scope of his own expertise. As described above, Mr.
15   Pinsonneault opines (1)
16               Block Decl. Ex. B (Pinsonneault Rebuttal Rep.) ¶ 49, (2)
17                                                  id. ¶ 54, and (3)
18                                                  Block Decl., Ex. C (Pinsonneault Dep. Tr.) at 278:11–14;
19   281:9–18. Yet by Mr. Pinsonneault’s own admissions, he lacks the expertise necessary to offer any
20   of these conclusions. As a result, Mr. Pinsonneault should not be permitted to testify on these issues
21   at trial.
22               Whether a witness can be qualified as an expert is determined by whether the witness has the
23   “knowledge, skill, experience, training, or education” as to the subject matter he or she seeks to opine.
24   Fed. R. Evid. 702. “Under Federal Rule of Evidence 702, experts may not make expert conclusions
25   about areas outside their expertise.” Apple Inc. v. Samsung Elecs. Co., Ltd., 2013 WL 5955666, at *2
26   (N.D. Cal. Nov. 6, 2013) (citing White v. Ford Motor Co., 312 F.3d 998, 1008–09 (9th Cir. 2002)).
27   “Courts regularly find that an expert’s qualifications in one field do not automatically translate to
28                                                     8
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 1   qualification to opine in a separate field, even if those fields are related in some general sense.”
 2   Gunaratna v. Dennis Gross Cosmetology LLC, 2023 WL 2628620, at *10 (C.D. Cal. Mar. 15, 2023).
 3   While Plaintiffs do not contest for purposes of this motion Mr. Pinsonneault’s qualifications to cal-
 4   culate the                                    , Mr. Pinsonneault lacks the qualifications to opine on
 5   topics beyond this scope.
 6          First, Mr. Pinsonneault lacks the expertise to opine
 7                                                    By his own admission, Mr. Pinsonneault disclaimed
 8   any expertise
 9                                 Block Decl., Ex. C (Pinsonneault Dep. Tr.) at 216:8–217:4, 217:17–21.
10   And Mr. Pinsonneault disclaimed any expertise regarding
11

12                Id. at 223:4–7. Mr. Pinsonneault did not review any documents
13

14

15   Id. at 224:12–15. Those reasons alone are enough to exclude Mr. Pinsonneault’s opinion.
16          Mr. Pinsonneault’s experience as a damages expert does not provide him any insight into
17                                                                             . Courts routinely police ex-
18   pert opinions that cross the line into opining on the proper response. For instance, in A.G. v. Paradise
19   Valley Unified School District No. 69, the Ninth Circuit endorsed the opinions of plaintiff’s behav-
20   ioral psychologist expert on issues related to the plaintiff’s behavior but found that the district court
21   improperly relied on the expert’s testimony regarding what services were “not legally required by
22   federal or state statute.” 815 F.3d 1195, 1207 (9th Cir. 2016).
23          Relatedly, Mr. Pinsonneault lacks the expertise to opine
24                               In his initial rebuttal report, Mr. Pinsonneault speculates that
25

26                     Block Decl. Ex. B (Pinsonneault Rebuttal Rep.) ¶ 49. But that is not an expert
27   opinion, it is simply an opinion. At his deposition, Mr. Pinsonneault stated that he based this opinion
28                                                     9
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 1   on
 2                  Block Decl., Ex. C (Pinsonneault Dep. Tr.) at 231:23–232:4. When asked about what
 3   expertise he brought to bear in making this opinion, Mr. Pinsonneault admitted
 4

 5                                                              Id. at 233:20–234:15.
 6            Normally, “[t]echnical experts generally may not testify about ‘motives, intent, or state of
 7   mind,’ as determinations on those issues are reserved for the jury.” Pavo Sols. LLC v. Kingston Tech.
 8   Co., 2019 WL 8138163, at *13 (C.D. Cal. Nov. 20, 2019), aff’d, 35 F.4th 1367 (Fed. Cir. 2022); see
 9   Zimmer Surgical, Inc. v. Stryker Corp., 365 F. Supp. 3d 466, 497 (D. Del. 2019) (“Expert testimony
10   as to intent, motive, or state of mind offers no more than the drawing of an inference from the facts
11   of the case . . . and permitting expert testimony on this subject would be merely substituting the
12   expert's judgment for the jury’s and would not be helpful to the jury.” (quoting Siring v. Or. State
13   Bd. of Higher Educ., 927 F. Supp. 2d 1069, 1077 (D. Or. 2013))). Here, Mr. Pinsonneault compounds
14   the problem because he lacks any relevant experience that would allow him to furnish an opinion
15   about                                        The fact that Mr. Pinsonneault
16

17             , any more than calculating damages for a case involving spyware makes him an expert on
18   how to hack WhatsApp’s servers.
19            Second, Mr. Pinsonneault lacks the expertise to offer an opinion
20                                                                  or whether
21                                      At his deposition, Mr. Pinsonneault
22                                        Block Decl., Ex. C (Pinsonneault Dep. Tr.) at 56:13–14. Though
23   he has                                                 , Mr. Pinsonneault does not
24                                                                                           . Id. at 55:14–
25   56:10.
26             Id. at 56:15–22. Nonetheless, Mr. Pinsonneault claimed
27

28                                                    10
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 1

 2                  . Id. at 248:5–14.
 3          As a threshold matter, none of the evidence supports Mr. Pinsonneault’s conclusions. Mr.
 4   Pinsonneault’s opinions therefore are irrelevant because they do not have a valid connection to the
 5   pertinent expertise and will not help the trier of fact understand the evidence or determine a fact in
 6   issue. Fed R. Evid. 702(a); Daubert, 509 U.S. at 591–92. In the words of Mr. Pinsonneault, NSO’s
 7   CEO
 8

 9                                  Block Decl. Ex. B (Pinsonneault Rebuttal Rep.) ¶¶ 52, 53.
10

11

12                                       Id. ¶¶ 51, 54.3
13          Moreover, Mr. Pinsonneault’s expertise as a damages expert does not give
14              See, e.g., GPNE Corp. v. Apple, Inc., 2014 WL 3870256, at *7 (N.D. Cal. Aug. 6, 2014)
15   (excluding damages expert from offering “technical testimony outside the scope of [damages ex-
16   pert’s] expertise”); Banga v. Kanios, 2021 WL 4133754, at *3 (N.D. Cal. Sept. 10, 2021) (excluding
17   damages expert from testifying about plaintiff’s likely future earnings); see also McMillan v. Weeks
18   Marine, Inc., 478 F. Supp. 2d 651, 659 (D. Del. 2007) (same).
19                                   , see Mighty Enters., Inc. v. She Hong Indus. Co., 745 F. App’x 706,
20   709 (9th Cir. 2018), as “[a]n expert’s sole or primary reliance on the opinions of other experts raises
21   serious reliability questions,” In re ConAgra Foods, Inc., 302 F.R.D. 537, 556 (C.D. Cal. 2014).
22          Third, Mr. Pinsonneault opines that
23                                                                                               See Block
24   Decl., Ex. C (Pinsonneault Dep. Tr.) at 278:11–14; 281:9–18. Courts can sometimes admit expert
25
     3
         Mr. Pinsonneault also opines
26                                                                                      Block Decl.
         Ex. B (Pinsonneault Rebuttal Rep.) ¶ 75. For these same reasons, Mr. Pinsonneault lacks the
27       expertise to offer this opinion.
28                                                    11
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 1   testimony based on an expert’s extensive experience. See, e.g., United States v. Holguin, 51 F.4th
 2   841, 855 (9th Cir. 2022) (allowing government law enforcement agents to testify about gang and
 3   drug investigations “based on their experience rather than based on any systematic methodology”
 4   because of their “‘years of experience and special knowledge.’”). When experts rely on their exper-
 5   tise as opposed to a systematic methodology, they “must describe their relevant background and ex-
 6   plain how that background informed the opinions they offer.” Mullins v. Premier Nutrition Corp.,
 7   178 F. Supp. 3d 867, 900 (N.D. Cal. 2016). Importantly, experts relying on their experience must
 8   “explain how that experience leads to the conclusion reached, why that experience is a sufficient
 9   basis for the opinions, and how that experience is reliably applied to the facts.” Fed. R. Evid. 702
10   advisory committee’s note (2000); see United States v. Cerna, 2010 WL 11627594, at *6 (N.D. Cal.
11   Dec. 17, 2010) (citing United States v. Hankey, 203 F.3d 1160, 1168 (9th Cir. 2000)). A court cannot
12   rely on a potential expert’s general qualifications to establish the reliability of their testimony. See,
13   e.g., United States v. Valencia-Lopez, 971 F.3d 891, 901 (9th Cir. 2020), Cerna, 2010 WL 11627594,
14   at *13.
15             Mr. Pinsonneault does not explain
16                                                                                                  . Moreo-
17   ver, he offers no evidentiary or factual basis to tie
18                                     See Daubert, 509 U.S. at 591 (requiring expert testimony to be “suf-
19   ficiently tied to the facts of the case”). Perhaps Mr. Pinsonneault
20

21

22

23             Though Mr. Pinsonneault may have experience in calculating labor costs, he does not have
24   any experience in determining,
25             Moreover, he offers no evidentiary or factual basis
26                                                           See Fed. R. Evid. 702 advisory committee’s note
27   (2000); Cerna, 2010 WL 11627594 at *6. Allowing him to give the jury blanket statements
28                                                    12
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 1                                                                            would be unreliable, unfair
 2   and distracting, particularly where there is no practical way for Plaintiffs to adequately challenge
 3   those statements on cross-examination, which would require reviewing the facts and distinguishing
 4   features of the dozens of unrelated cases he purports to describe. Therefore, Mr. Pinsonneault does
 5   not employ a reliable methodology or explain how his general experience in other cases supports his
 6                                                                        . He should not be permitted to
 7   offer                                                                               .
 8   II.       Mr. Pinsonneault’s Opinion Regarding The Amount of NSO’s Illegal Profits Should
 9             Be Excluded
10             Both damages experts
11                              See Block Decl. Ex. B (Pinsonneault Rebuttal Rep.) ¶ 91 (determining the
12

13              ; Dkt. No. 487-6 ¶ 7 (providing
14                                           ). As Mr. Pinsonneault acknowledged during his deposition,
15   any estimate of
16

17                             . Block Decl., Ex. C (Pinsonneault Dep. Tr.) at 306:5–307:11. However,
18   contrary to the Court’s order, NSO refused to produce that financial information in discovery. See
19   Dkt. No. 405-2 at 13–14 (describing NSO’s refusal to produce financial documents that the Court
20   ordered NSO to produce). As a result,
21                                                          Without any financial information
22                                                                                     , Ms. Trexler cal-
23   culated
24                                             . Dkt. No. 487-3 ¶¶ 119, 121; see Dkt. No. 487-6 ¶ 43. By
25   contrast, Mr. Pinsonneault refuses to acknowledge the lack of financial disclosures by NSO and uses
26   an
27

28                                                    13
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 1                                   . Mr. Pinsonneault’s calculation                           should thus
 2   be excluded.
 3          A. Mr. Pinsonneault Uses an Unreliable Methodology To Estimate the Amount That
 4

 5          Mr. Pinsonneault uses an unreliable methodology to calculate
 6

 7             Therefore, his opinion on                                               should be excluded.
 8          An expert’s opinion must be “the product of reliable principles and methods.” Fed. R. Evid.
 9   702. Under Daubert, “the district court judge must ensure that all admitted expert testimony is both
10   relevant and reliable.” Wendell v. GlaxoSmithKline LLC, 858 F.3d 1227, 1232 (9th Cir. 2017). To
11   assess reliability, the district court can examine the expert’s principles and methodologies, including
12   “whether the theory or technique employed by the expert is generally accepted in the scientific com-
13   munity; whether it’s been subjected to peer review and publication; whether it can be and has been
14   tested; and whether the known or potential rate of error is acceptable.” Grodzitsky v. Am. Honda
15   Motor Co., 957 F.3d 979, 985 (9th Cir. 2020) (quoting Wendell, 858 F.3d at 1232).
16          There is no such support for Mr. Pinsonneault’s proposed method of
17                     In his report, Mr. Pinsonneault assumes
18

19

20

21                                Block Decl. Ex. B (Pinsonneault Rebuttal Rep.), Figure 15 (calculating
22   the 27.1% figure) and Schedule 2.0 n. F (calculating NSO’s R&D related to Covert Android).
23          There is no evidence that NSO apportioned                                  . See Dkt. No. 487-
24   3 ¶ 121
25

26                              ). None of Mr. Pinsonneault’s reports provide any justification for this
27   methodology—indeed, Mr. Pinsonneault does not even attempt to explain his basis for using this
28                                                    14
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 1   method. See Block Decl. Ex. B (Pinsonneault Rebuttal Rep.) ¶¶ 122–123. Moreover, Mr. Pinson-
 2   neault’s methodology ignores evidence in the record showing
 3                                                                            See Dkt. No. 487-3 ¶ 121; see
 4   also Block Decl., Ex. A (Gazneli Dep. Tr.) at 106:4–107:4 (
 5                                                    ; Block Decl., Ex. D (NSO_WHATSAPP_00000287)
 6

 7        .
 8            Mr. Pinsonneault’s                                               therefore falls short of the re-
 9   liability standard imposed by Daubert. Courts have rejected similar methods of simplistic calculation
10   premised on unsupported assumptions. For instance, where an expert “failed to provide the ‘meth-
11   odology’ underlying his apportionment amount or explain how he arrived at that figure based on the
12   facts of this case, his apportionment opinion is not backed by ‘sufficient facts or data’ or by ‘reliable
13   principles and methods’” and was excluded. NetFuel, Inc. v. Cisco Sys. Inc., 2020 WL 1274985, at
14   *9 (N.D. Cal. Mar. 17, 2020); see also Brighton Collectibles, Inc. v. RK Tex. Leather Mfg., 923 F.
15   Supp. 2d 1245, 1255 (S.D. Cal. 2013) (rejecting damages theory assuming that $1 of infringing sales
16   corresponds $1 of lost profits). Mr. Pinsonneault cannot cure NSO’s failure to produce detailed
17   financial information by
18             .
19            B. Mr. Pinsonneault Lacks Sufficient Facts and Data To
20

21            Even if Mr. Pinsonneault’s headcount-based estimate is methodologically sound (which it is
22   not), Mr. Pinsonneault lacks “sufficient facts or data” to determine
23                                             . To satisfy this standard, “the expert’s opinion must rest on
24   ‘facts or data in the case that the expert has been made aware of or personally observed,’ not merely
25   assumptions and speculation.” Stephens v. Union Pac. R.R. Co., 935 F.3d 852, 856 (9th Cir. 2019)
26   (quoting Fed. R. Evid. 703). Here, the facts and data that Mr. Pinsonneault relies upon are inherently
27   unreliable, and Mr. Pinsonneault ignores countervailing evidence in reaching his conclusion. His
28                                                    15
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 1   estimate
 2                                                                                       , should thus be ex-
 3   cluded.
 4             To reach his opinion included in his initial rebuttal report, Mr. Pinsonneault relies primarily
 5   on a single conversation with a single NSO employee—Tamir Gazneli, NSO’s head of R&D—who
 6   apparently told Mr. Pinsonneault that                         worked on C
 7                                    .4 Block Decl. Ex. B (Pinsonneault Rebuttal Rep.) ¶ 122. Mr. Pinson-
 8   neault’s conversation with Mr. Gazneli does not constitute “sufficient facts or data” on which expert
 9   testimony be based. Fed. R. Evid. 702. For this reason, courts routinely exclude expert opinions
10   derived primarily from conversations with party witnesses, especially in the face of contradictory
11   information in the record. For example, recently, a court in the Central District of California excluded
12   a damages expert’s opinion that was “primarily based on a conversation with Plaintiff’s CEO” where
13   “the record before the Court lacks any other evidence to support this opinion.” Am. Transp. Sys., Inc.
14   v. Prevost Car US Inc., 2024 WL 5185314, at *4 (C.D. Cal. Oct. 9, 2024); see also United States v.
15   Tin Yat Chin, 371 F.3d 31, 40 (2d Cir. 2004) (excluding expert opinion based on short conversation
16   to the exclusion of other significant data); Lantec, Inc. v. Novell, Inc., 306 F.3d 1003, 1025–26 (10th
17   Cir. 2002) (upholding exclusion of economic expert who “attempted to spin anecdotes from a handful
18   of personal conversations” into expert opinion).
19             Mr. Pinsonneault’s single conversation with Mr. Gazneli suffers from the same defect. Block
20   Decl. Ex. B (Pinsonneault Rebuttal Rep.), Schedule 2.1, n. F (
21

22                               and, moreover, is not reliable. During his deposition, Mr. Gazneli
23
     4
         To update the disgorgement analysis in his second supplemental report, Mr. Pinsonneault had to
24       include the number of employees who worked on Covert Android R&D in the additional time
         periods. Mr. Pinsonneault does not cite to a conversation with Mr. Gazneli, and merely states
25       that he “understand[s] the maximum number of R&D employees involved in covert Android in-
         stallation vectors was 30 in 2018 and 34 in 2020.” Dkt. No. 492-4, Schedule S2.1 n. F. An
26       “understanding” is not facts or data—it is mere speculation that cannot be relied upon. See Hsin
         Lin v. Solta Medical, Inc., 2024 WL 5199905 (N.D. Cal. Dec. 23, 2024) at *12 (“As pure specu-
27       lation, it is not helpful to the jury . . .”).
28                                                    16
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 1

 2                                                                           Block Decl., Ex. A (Gazneli
 3   Dep. Tr.) at 52:19–24. Still, Mr. Pinsonneault bases his entire analysis on Mr. Gazneli’s estimate.
 4          Furthermore, Mr. Pinsonneault’s reliance                                             makes his
 5   opinions even more unreliable in light of the contradictory evidence in the record, which Mr. Pinson-
 6   neault ignored. Because expert testimony must be “based on sufficient facts or data,” Fed. R. Evid.
 7   702, experts cannot only consider the evidence that supports their position. Courts exclude expert
 8   testimony where experts cherry-pick facts to bolster their expert opinion. See, e.g., Barber v. United
 9   Airlines, Inc., 17 F. App’x 433, 437 (7th Cir. 2001); Concord Boat Corp. v. Brunswick Corp., 207
10   F.3d 1039, 1055–57 (8th Cir. 2000); Bricklayers & Trowel Trades Int’l Pension Fund v. Credit Suisse
11   First Bos., 853 F. Supp. 2d 181, 188 (D. Mass. 2012) (precluding expert testimony that “cherry-
12   picked” certain data points) aff’d sub nom. Bricklayers & Trowel Trades Int’l Pension Fund v. Credit
13   Suisse Sec. (USA) LLC, 752 F.3d 82 (1st Cir. 2014).
14          Here, Mr. Pinsonneault seemingly ignored documents in the record that contradict his esti-
15   mates of                                                                                              .
16   For instance, Mr. Pinsonneault concludes
17

18                                              See e.g., Block Decl. Ex. E (WA-NSO-00074999) at -043;
19   Block Decl. Ex. F (JEFF00007831) at -836; Block Decl. Ex. F (FPM-00026827) at -844. Similarly,
20   Mr. Pinsonneault relies on his conversation with Mr. Gazneli to conclude that
21

22                                                                                            These docu-
23   ments, if considered, would alter the                                               , and underscores
24   the unreliability of his approach as a whole.
25          This same document, the spreadsheet on which Mr. Pinsonneault relies, indicates that there
26   were                                                                              . Mr. Pinsonneault
27   provides no explanation for why
28                                                    17
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 1                              , which only adds to the argument that Mr. Pinsonneault’s methodology and
 2   analysis are unreliable.
 3                                               CONCLUSION
 4          For the foregoing reasons, Plaintiffs respectfully request that the Court grant their motion to
 5   exclude portions of Mr. Pinsonneault’s expert testimony.
 6

 7    Dated: January 9, 2025                         Respectfully Submitted,

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 9
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26

27

28                                                    18
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